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                   VIA ECF
                   Special Master
                   Hon. Thomas Vanaskie
                   Stevens & Lee
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                   RE: In re Valsartan, Losartan, and Irbesartan Products Liability Litigation, No.
                   1:19-md-2875-RBK-KMW (D.N.J.)

                   Dear Judge Vanaskie:

                           I write on behalf of the Defendants’ Executive Committee to provide
                   Defendants’ position with respect to the agenda topics for the conference with the
                   Court on April 29, 2022. Defendants do not expect the need to discuss any
                   confidential materials as part of these agenda items, but reserve the right to move to
                   a confidential setting should the need arise.

                      1. Status of Defendants’ Motion to Compel Testing Documents from Ron
                         Najafi

                           On Monday, April 25, Plaintiffs filed their response to Defendants’ Motion to
                   Compel. Accordingly, the Motion is now ripe for adjudication. With respect to the
                   substance of Plaintiffs’ response, Defendants respectfully seek to clarify several
                   points.

                           First, Plaintiffs’ assertion that Defendants have been inconsistent with
                   respect to the documents being sought from Dr. Najafi is incorrect. The Court need
                   only compare Defendants’ list of requests set forth in the initial meet-and-confer
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       letter, ECF No. 1984-2, with the list of requests in the resultant Motion to Compel,
       ECF No. 2013, to see that they are verbatim the same.

                Second, Plaintiffs’ characterization of the meet-and-confer process is also
       inaccurate. In accordance with the Court’s instructions, Defendants made a good-
       faith attempt to narrow the issues through the lengthy meet-and-confer process, but
       the parties were unable to reach a compromise that was acceptable to both sides.
       Despite initial denials, Plaintiffs now admit that Dr. Najafi did, indeed, conduct
       testing at the behest of Valisure for purposes of corroborating the nitrosamine levels
       set forth in the Citizen Petition. Thus, at a minimum, we know that Dr. Najafi is in
       possession of (i) correspondence with Valisure regarding the testing; (ii) Valisure’s
       test results; (iii) product from Valisure; (iv) documents reflecting chain of custody
       from Valisure to Emery; (v) documents reflecting Emery’s methods, processes, and
       controls; (vi) Emery’s testing data; and (vii) correspondence from Emery to Valisure
       conveying the results of Emery’s testing. All of this is relevant and discoverable.
       Nonetheless, Plaintiffs were not willing to produce any documents. Their last and
       final offer during the meet and confer was to provide an attorney certification that
       the levels of NDMA and DMF detected by Dr. Najafi’s lab on samples provided by
       Valisure were not within some unspecified margin of error as compared to the levels
       of NDMA and DMF detected by Valisure in samples of Novartis and Aurobindo
       product. For reasons explained in Defendants’ motion, this compromise is
       unacceptable to Defendants and falls far short of what Defendants are entitled to
       discover under the law. Accordingly, before Defendants filed their Motion to
       Compel, counsel for Defendants informed Mr. Slater by phone that Defendants did
       not believe a compromise was within reach and, therefore, Defendants intended to
       press forward with the motion. Plaintiffs’ counsel did not disagree that the parties
       had reached an impasse. As such, it is inaccurate for Plaintiffs to suggest that
       Defendants never “responded” to Plaintiffs’ final offer.

               Third, Plaintiffs continue to cling to arguments raised during the meet and
       confer that are easily refuted. For example:

                     Plaintiffs rely on the notion that Dr. Najafi’s testing was “blinded.”
                      As explained in the Motion to Compel, the manufacturer of a tablet
                      can be identified through simple, visual inspection. Certainly Dr.
                      Najafi is aware of this; thus, to the extent he claims not to be aware of
                      the manufacturer of the tablets he tested, his ignorance can only be
                      described as willful.
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                    Plaintiffs have no answer to Defendants’ explanation for why it can
                     reasonably be inferred that the testing performed by Valisure (and,
                     perhaps, Dr. Najafi) was indeed Novartis’s brand-name, FDA-
                     approved product. Plaintiffs’ suggestion that it is irrelevant whether
                     NDMA was present in Novartis’s RLD product is similarly
                     nonsensical. Indeed, the central premise of Dr. Najafi’s opinion is that
                     generic valsartan was not the “same as” the brand-name product
                     because of the presence of nitrosamine impurities. Defendants believe
                     this opinion is unreliable and contrary to science and law, but if
                     NDMA has been detected in the RLD, Dr. Najafi’s opinions collapse,
                     even under his own flawed approach.

                    Plaintiffs speculate that, perhaps, there was some flaw in the
                     methodology used by Valisure to quantify NDMA. This conjecture
                     apparently is the brainchild of Plaintiffs’ attorneys, not their expert, as
                     there is no citation to support any of their postulations. In any event,
                     Plaintiffs’ conjecture is self-defeating, given Dr. Najafi’s testimony
                     that the levels detected by his lab were comparable to the levels
                     detected by Valisure. Moreover, the existence of open questions
                     regarding the reliability of the methods used by Valisure—and, by
                     extension, Emery—weighs in favor of compelling the production of
                     the underlying documents, not suppressing them.

                    The fact that Diovan or Exforge has not been recalled is also a red
                     herring. Only products that exceed FDA’s conservative AI limit of 96
                     ng/day for NDMA will be recalled. Accordingly, the mere fact that
                     the RLD was never recalled does not mean NDMA was not detected.
                     Notably, Dr. Najafi’s own opinion does not rest on whether product
                     was recalled. Indeed, according to Dr. Najafi, the level of NDMA is
                     irrelevant. His opinion is based on the presumption that the level of
                     NDMA and NDEA in the brand-name products was zero; thus, any
                     detectable level of NDMA found in those products undermines Dr.
                     Najafi’s opinions—rendering the information relevant and
                     discoverable.

                    The fact that Valisure was not retained by Plaintiffs in this MDL
                     proceeding is, again, immaterial. Valisure sent Dr. Najafi product,
                     testing data, and other correspondence related to valsartan. Whether
                     Defendants intend to seek third-party discovery from Valisure at some
                     later time does not excuse Plaintiffs’ obligation to produce relevant,
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                     discoverable documents within their experts’ possession, custody, and
                     control.

                    Plaintiffs describe Defendants’ requests as a “fishing expedition,”
                     even though their own expert testified under oath that he has in his
                     possession testing data from both his lab and Valisure regarding the
                     potential presence of nitrosamine impurities in VCDs marketed in the
                     United States. This information strikes at the very heart of Plaintiffs’
                     Motion for Class Certification, and Dr. Najafi’s opinions in support of
                     that Motion. Plaintiffs’ suggestion that the production of protocols
                     and other information is “irrelevant and burdensome”—just a few
                     pages after they put at issue the methods used to generate the data Dr.
                     Najafi possesses—is absurd.

                    Plaintiffs suggest that the testing and other documents within their
                     control should be submitted for in camera review due to the supposed
                     “confidentiality” of the materials. With regard to discovery sought
                     from Defendants, Plaintiffs have repeatedly argued that production is
                     appropriate in light of the Protective Order entered in this case.
                     Indeed, Defendants have been required to rely upon the Protective
                     Order when producing millions of pages of proprietary information
                     over the course of discovery. Plaintiffs have demonstrated no
                     compelling reason why they should be excused from this obligation.

                    Moreover, the process proposed by Plaintiffs whereby the Court
                     would review Emery’s testing data ostensibly to compare it to the
                     levels detected by Valisure in Novartis’s product and, on that limited
                     basis, determine relevance, is woefully inadequate. First, as
                     established, any testing performed by Emery and Valisure on VCDs is
                     relevant and discoverable, not just testing performed on Novartis
                     product. Valisure’s testing included VCDs from the brand-name
                     manufacturer, multiple Defendants, and several additional generic
                     manufacturers whose products Plaintiffs themselves purchased and
                     ingested. The documents are relevant to both causation and class
                     certification. Second, whether Dr. Najafi’s levels happen to correlate
                     to the data set forth in the citizen petition is immaterial to the separate
                     issue of discoverability. This is especially so given Plaintiffs’ newly
                     formed position that Valisure’s data are unreliable. Plaintiffs cannot
                     have it both ways. Either their expert testified truthfully that his lab
                     was able to “corroborate” Valisure’s data, which tends to support the
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                      notion that there was, in fact, NDMA in the RLD product, or
                      Valisure’s methods were flawed, which would mean the correlation
                      between Dr. Najafi’s data and Valisure’s data tells us nothing about
                      which manufacturer’s product Emery actually tested.

              Nearly all of the arguments raised by Plaintiffs in their response to
       Defendants’ Motion reinforce the fact that Defendants are entitled to discovery on
       this important issue. Ultimately, the documents will tell the story, and Defendants
       should have the opportunity to review them.

            Defendants will be prepared to address any issues regarding the Motion to
       Compel at the CMC.

          2. Status Update on the Meet and Confers Regarding Defendants’
             Indemnification and Defense Agreements

               This issue was first raised with the Court at the February 2, 2022 Case
       Management Conference. See Defendants’ 2/1/22 Position Statement, ECF No.
       1897. At that time, Defendants indicated their willingness to meet and confer with
       Plaintiffs regarding indemnification agreements. On March 17, 2022, Plaintiffs sent
       Defendants a letter requesting specific information from each tier of Defendants.
       (See Letter from G. Williamson to S. Goldberg, attached as Ex. A.) In early April,
       Defendants began to conduct meet-and-confer discussions with Plaintiffs on an
       individual basis. See Defendants’ 4/12/22 Position Statement, ECF No. 2007.

               This issue was further discussed at the April 13, 2022 status conference, after
       which Judge Vanaskie issued Special Master Order No. 64, ECF No. 2015.
       Defendants have continued to conduct individual meet-and-confer discussions with
       Plaintiffs. The following is an update on the status of these meet and confer
       discussions between Plaintiffs and specific Defendants.

          a) ZHP

               Counsel for the ZHP Defendants met and conferred with Plaintiffs’ counsel
       by telephone on April 12 and 22 regarding requests directed to the ZHP Defendants
       in Plaintiffs’ March 17 letter. On April 24, Plaintiffs sent follow-up correspondence
       asking for written confirmation of certain information and also requesting
       documents. On April 27, the ZHP Defendants provided the requested written
       confirmation and agreed to produce certain of the documents requested. On April 28,
       Plaintiffs wrote to request clarification on two issues, which the ZHP Defendants are
       investigating and will address with Plaintiffs shortly.
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          b) Teva

               As discussed at the April mid-month status conference with Judge Vanaskie,
       counsel for Teva met and conferred with Plaintiffs’ counsel on the requests directed
       to Teva in Plaintiffs’ March 17, 2022 letter regarding indemnification agreements on
       April 8, 2022. Based on those discussions, and as confirmed by Plaintiffs’ counsel,
       there are no outstanding issues with respect to Teva’s indemnification agreement
       information (04/13/2022 Hrg. Tr., 6:9-17).

          c) Mylan

               Mylan has met and conferred with Plaintiffs and has provided updated
       information in accordance with SMO 64. The parties agree that there are no issues
       ripe for the Court’s consideration at this time.

          d) Aurobindo

              Aurobindo met and conferred with Plaintiffs on April 22. Aurobindo
       understands that Plaintiffs were satisfied with the information provided during the
       discussion.

          e) Torrent

              Torrent met and conferred with Plaintiffs on April 18th, and provided an
       update on April 28th. Torrent continues to gather additional information.

          f) Hetero/Camber

              Hetero and Camber had a meet and confer with Plaintiffs on April 18, 2022
       pursuant to SMO 64. These Defendants have agreed to provide updated information
       and clarification to Plaintiffs to the extent reasonably necessary.

          g) Wholesaler Defendants

               Wholesaler Defendants conducted a meet and confer with Plaintiffs’ counsel
       on April 19, 2022. During that call, Plaintiffs’ counsel notified Wholesaler
       Defendants’ counsel that, in addition to supplementation of Wholesaler Defendants’
       prior discovery responses regarding indemnification agreements, Plaintiffs seek
       disclosure of additional information about indemnification and defense agreements
       that was not within the scope of the discovery taken from Wholesaler Defendants
       during the discovery period, which closed on October 4, 2021. The additional
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       information requested by Plaintiffs’ counsel includes disclosure of whether any
       entity has assumed any Wholesaler’s defense and/or has agreed to reimburse any
       Wholesaler’s costs of defense; if so, whether reimbursements have been made and in
       what amount; and communications and/or disputes about defense or indemnification,
       both upstream and downstream. This information is not relevant to the issues in the
       pending litigation or to settlement. It also is subject to privileges that protect it from
       disclosure. Wholesaler Defendants remain agreeable to engaging in the meet-and-
       confer process with Plaintiffs’ counsel, but believe clarification of Special Master
       Order No. 64 is necessary before attempting to do so.

          h) Retail Pharmacy Defendants

               Counsel for Retail Pharmacy Defendants Albertson’s, CVS, Express Scripts,
       Humana Pharmacy, Kroger, Rite Aid, Walgreens, and Walmart have met and
       conferred with Plaintiffs’ counsel. Optum’s meet and confer is scheduled to occur
       tomorrow (April 29, 2022). Retailer Liaison Counsel is informed that there are no
       issues ripe for the Court’s consideration with respect to those discussions at this
       time.

          3. Holding the Clarification Motions Regarding General Causation in
             Abeyance

               The parties have engaged in a meet and confer to discuss the framework for a
       potential compromise regarding Defendants’ pending Motion for Clarification.
       Specifically, the parties discussed the possibility of deferring this issue in the short
       term, to be re-raised in connection with the Rule 56 stage in the MDL, and prior to
       any remand. Plaintiffs have indicated that this framework would be acceptable to
       them. Defendants are discussing the matter internally and have not reached a final
       decision point regarding whether to defer the Motion.

          4. Reply Brief Deadline to Rule 702 Motions

               The current scheduling order, CMO 24, ECF No. 1930, does not include a
       deadline for the parties to file replies to responses to motions regarding class
       certification experts. This appears to be an accidental oversight, as a reply deadline
       was included in prior scheduling orders. See ECF No. 863. Based on the operative
       response brief deadline of May 25, 2022, Defendants believe the appropriate reply
       brief deadline for these motions would have been June 8, 2022.

              On Wednesday, April 27, the Court granted Plaintiffs’ request for an
       extension of the deadline to submit Daubert briefs with respect to the class
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       certification experts until Tuesday, May 3, 2022. ECF No. 2025 (text order). (The
       order erroneously said Tuesday May 4.) Plaintiffs have also committed to
       responding to the Motion to Exclude Plaintiffs’ expert Edward Kaplan, M.D., within
       the original timeframe contemplated by CMO 24 because Defendants filed that
       motion before Plaintiffs sought the extension. (See 4/26/2022 A. Slater email to
       Judge Kugler, attached as Ex. B.) Plaintiffs’ counsel confirmed that they agree with
       adding a reply brief deadline and with the below-proposed deadlines, adding one
       additional day for submitting response briefs due to the Memorial Day holiday. (See
       4/28/2022 C. Geddis email to S. Harkins, attached as Ex. C.) Accordingly,
       Defendants propose that the following revised scheduling order be entered:

             Tuesday, May 3, 2022 - Deadline to file Daubert motions regarding class
              certification experts
             Wednesday, May 25, 2022 - Deadline for Plaintiffs to file response to
              Daubert motion regarding class certification expert Edward Kaplan, M.D.
             Thursday, June 2, 2022 - Deadline to file responses to Daubert motions
              regarding class certification experts
             Wednesday, June 8, 2022 - Deadline for Defendants to file replies to
              responses to Defendants’ Daubert motion regarding class certification expert
              Edward Kaplan, M.D.
             Thursday, June 16, 2022 - Deadline to file replies to responses to Daubert
              motions regarding class certification experts

               Defendants also raised a potential modification to the deadlines for meeting
       and conferring and preparing the motion to seal required by local rules in connection
       with the class certification briefing. Rather than prepare such a motion at the
       conclusion of the class certification briefing, due to the substantial overlap between
       exhibits and material cited in the class expert Daubert briefs, Defendants proposed,
       and Plaintiffs’ counsel agreed, that the deadlines for meeting and conferring and
       drafting the motion to seal could run from the conclusion of the Daubert briefing on
       June 16, 2022. (See id.) The parties stand ready to prepare an order reflecting the
       above deadlines and confirming that “end of briefing” for purposes of the motion to
       seal shall run from the conclusion of the Daubert briefing, subject to the Court’s
       approval.
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          5. PFS Deficiency Issues

          a) Prior Show Cause Orders

             The Court issued nine show cause orders returnable at the April 29, 2022
       Case Management Conference:

          1.   William Byrnes v. Aurobindo, et al., – 21-cv-13325
          2.   Estate of Sloan Mitchell v. Aurobindo, et al., – 21-cv-20355
          3.   Kelly Donaldson v. Aurobindo Pharma, et al., – 21-cv-18272
          4.   Charlene Mills v. Actavis, et al. – 21-cv-13611
          5.   James Larsen v. Actavis, et al., – 21-cv-18313
          6.   Eric Thompson v. Aurobindo Pharma, et al., – 21-cv-19973
          7.   Jimmie Thorn v. Mylan, et al., – 20-cv-20603
          8.   Deborah Harris v. Aurobindo, et al., – 21-cv-6395
          9.   Chadwick Wilson v. Aurobindo Pharma, et al., – 21-cv-20624

              The issues in the Byrnes, Mitchell, and Donaldson matter are resolved, and
       those show cause orders may be withdrawn.

               The issues in the Mills, Larsen, and Thompson matters remain unresolved, but
       the parties are working towards a resolution and request a one-month extension of
       these orders to show cause until the May 2022 Case Management Conference.

             The issues in the Thorn, Harris, and Wilson matters remain unresolved and
       Defendants wish to proceed with dismissal of these three cases at the CMC.

          b) Requested Show Cause Orders – Second Listing

              Pursuant to CMO-16, the Plaintiff Fact Sheets in the below cases are
       substantially incomplete and contain core deficiencies. Each of these cases was
       previously listed on the agenda for a prior CMC. This list was provided to Plaintiffs’
       leadership on April 19, 2022, and a global meet and confer was held on April 25, 2022.
       Defendants have also been available for further discussion as needed. Accordingly,
       Defendants request that an Order to Show Cause be entered in each of these cases,
       returnable at the next Case Management Conference, as to why these cases should not
       be dismissed.

              Defense counsel will be prepared to address the individual issues with respect
       to each of these cases, to the extent necessary, during the April 29, 2022 Case
       Management Conference:
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            c) First Listing Cases – Remaining Core Deficiencies:

              Plaintiff         Civil           Law Firm         Deficiencies                  Deficiency
                              Action No.                                                       Sent

    1.    Michael Keicher        21-cv-         Honik LLC        Need medical expenses;        2/18/22
           v. Aurobindo          20760                           need medical records
          Pharma, et. Al.
    2.     Robert Sanford        21-cv-           Levin          Need medical expenses;        3/2/22
            v. Aurobindo         20674          Papantonio       amended PFS needs to
           Pharma Ltd. et                        Rafferty        be uploaded
                 al.

    3.    Carl Huston v.         21-cv-         Honik LLC        -Failed to attach records     2/22/2022
          Aurobindo              20758                           demonstrating alleged
          Pharma Ltd., et                                        injury
          al
    4.    Ulysses Payne          21-cv-       Serious Injury     -Failed to address            3/8/2022
          v. ZHP et al.          00495         Law Group         numerous deficiencies
                                                                 listed in Deficiency
                                                                 Notice

    5.    Betty Hall v.          21-cv-       Serious Injury     No PFS Filed.                 3/24/22
          Torrent                20447         Law Group

    6.    Marion Dennis          20-cv-       Serious Injury     No PFS Filed.                 3/24/22
          v. Solco               11163         Law Group




                 The following Plaintiff Fact Sheets contain core deficiencies that remain
         unresolved. This list was provided to Plaintiff leadership on April 19, 2022, and a
         global meet and confer was held on April 25, 2022. Defendants have also been
         available for further discussion as needed. This is the first time these cases have been
         listed on this agenda. Accordingly, Defendants are not requesting orders to show cause
         with respect to any of the below cases at this time and will continue to meet and confer
         to resolve these deficiencies.
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             Plaintiff         Civil         Law Firm         Deficiencies              Deficiency
                             Action No.                                                 Sent

    1.   Jerry Williams v.     22-cv-        Hollis Law       Need medical expenses     3/24/22
             ZHP et al.        00149

    2.    Tommy Benton         21-cv-      Serious Injury      Largely deficient PFS    4/13/22
           v. Teva et al       13858        Law Group

    3.    Annie Pace v.        20-cv-      Serious Injury      Largely deficient PFS    4/13/22
             Major             19170        Law Group
         Pharmaceuticals,
              et al
    4.       Rachel            21-cv-     Levin Papantonio    Need medical expenses     4/13/22
          McDermott v.         20426
            ZHP et al
    5.   Michael Shemes        21-cv-      Law Offices of         No response to        3/14/22
         v. Aurobindo et       20204      Sadaka Associates      deficiency notice,
               al.                                            including no records or
                                                              authorizations uploaded
                                                                and declaration not
                                                                       signed

    6.   Curtis McCall v.      21-cv-      Serious Injury        No response to         3/28/22
         Aurobindo et al.      13859        Law Group           deficiency notice,
                                                               medications listed as
                                                                   “unknown”

    7.     Mary Powell         21-cv-     Levin Papantonio    Amended PFS needs to      3/29/22
                               20436                           be uploaded, missing
                                                                 medical expense
                                                                      records

    8.   Michael Shapiro       21-cv-     Hollis Law Firm,    No medical records, no    3/2/22
         v. Aurobindo et       19906            P.A.          pharmacy records, no
               al                                             proof of use
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    9.      Estate of          20-cv-     Parafinczuk Wolf, No pharmacy records,          3/19/22
           Bernadine           08814             P.A.       no authorizations,
        Badger v. Mylan                                     deficient
         Laboratories et
               al
    10. Mary Richards v.       21-cv-     Hollis Law Firm      Need Medical Expenses      3/19/22
             Mylan             17150
        Laboratories et al
    11.    Gali Callahan       21 -       Law Offices of   Substantially deficient        3/22/22
                             CV- 20203   Sadaka Associates PFS, no authorizations,
                                                           medical records,
                                                           medical expenses,
                                                           pharmacy records

    12. Margaret Tolley        21-cv-      DeGaris Wright      Substantially deficient    3/21/22
           v. Mylan            10130          McCall           PFS, no authorizations,
        Laboratories et al                                     medical records,
                                                               medical expenses,
                                                               pharmacy records

    13. Katherine Peyton       21 -        DeGaris Wright      Substantially deficient    3/21/22
         v. Mylan et al      CV- 09063        McCall           PFS, no authorizations,
                                                               medical records,
                                                               medical expenses,
                                                               pharmacy records

    14. Gary Lee Tippett     22-cv-826   Pittman, Dutton & No PFS Filed                   4/16/22
        v. Aurobindo et                    Hellums, P.C.
               al
    15. Raymond Dais v.      22-cv-518     Dennis O’Brien      No PFS Filed               4/18/22
         Aurobindo et al                        PA

    16. Wayne Grubb v.       22-cv-918       Moore Law         No PFS Filed               4/22/22
        Aurobindo et al

    17.     Christopher      22-cv-930      Stark & Stark      No PFS Filed               4/22/22
            Gallagher v.
            Hetero et al
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    18. Stacy Jackson v.    22-cv-1030        Levin Papantonio   No PFS Filed              4/25/22
           ZHP et al




                                                      Respectfully Submitted,




                                                      Jessica D. Miller


        cc: All counsel of record (via ECF)
